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                                                                 JS-6
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   4                       UNITED STATES DISTRICT COURT

   5         CENTRAL DISTRICT OF CALIFORNIA – EASTERN DIVISION

   6
        Dennis MacDougall, et al.,                         Case No. SACV 8:17-CV-1079 JGB
   7                                                                  (DFMx)
                                            Plaintiffs,
   8
   9                v.
                                                                   JUDGMENT
  10    America Honda Motor Co., Inc., et al.,
  11                                     Defendants.
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  13   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
  14
             Pursuant to the Order filed concurrent herewith, the Motion for Summary
  15
       Judgment by Defendants American Honda Motor Co., Inc. and Honda North
  16
       America, Inc. is GRANTED. Plaintiffs Dennis MacDougall, Ray Seow,
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       Prabhanjan Kavuri, Richard Frick, Joseph Ryan Parker and Bryan Lentz’s
  18
       complaint against Defendants is DISMISSED with prejudice.
  19
             Judgment is entered in favor of Defendants.
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  23    Dated: September 11, 2020

  24                                             THE HONORABLE JESUS G. BERNAL
  25                                             United States District Judge
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